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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     JAN 22 2020
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 NIMESH PATEL, Individually and on              No. 18-15982
 Behalf of All Others Similarly Situated;
 et al.,
                                                D.C. No. 3:15-cv-03747-JD
               Plaintiffs - Appellees,          U.S. District Court for Northern
                                                California, San Francisco
   v.
                                                MANDATE
 FACEBOOK, INC.,

               Defendant - Appellant.


        The judgment of this Court, entered August 08, 2019, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Rebecca Lopez
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
